.Y*O                                                                                                               20,17 OCT 1
                                     IN THE IJNI1'BD STATES DISTRICT COURT'                                                            ~I~ I I : 20
                                    FOR THE NDDI..E DISTRICT OF TENNESSEE                                                              _

Wanda E'aye Jones, et al.                                                                                                                r OF TN

V.

Elite Emergency Services, 1=o et al



                                           .APPLICATION FOR.WRIT OF MCUTION

          The Judgment Creditor, Wanda Faye Jones, et al .                                   ,hereby makes application to the Clerk
of the 'U'nited States District Court to issue an execution. in the above case to satisfy a judgment against the

judgment debtar(s) herein, Samuel C. Clemnons                                                    for $125,000.00                 plus

accrued interest in the amount of $                                      through_                    computed at the rate of      °/a,
                                                                                    {date)


plus costs formally taxed * by the Clerk of, the court in the amount of $                                     . The total amount of
payments made by judgment debtors) on this judgment is $ 0
                                                       prno payments have been made enter %"


The balance of the Judgment that remains unsatisfied, as of                  10/11/17              , including accrued interests and
                                                                                    (data)

costs, if applicable, after payments from the judgment debtors) have been credited, Is $




                                                                 lrravnr W_ N- w 1 1
                                                               Judgment Creditor/Attorney for Judgment Creditor
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                                                               Address
                                                               Nashville, TN 37203
                                                                City, State, Zip
                                                               t(615) 739-6938
                                                               Telephone Number

  +lraa costs Nava been r=ally tuxcd by th° Clerk of the Court, enter vO.0

       Case 3:12-cv-00203 Document 327 Filed 10/17/17 Page 1 of 1 PageID #: 8288
